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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS

 In re:

 GILLI LAVRISHINA,                                                  Case No. 19-11244-FJB
                                                                    Chapter 13
          Debtor.

                                  STIPULATION AND ORDER

          This stipulation and order (the “Stipulation”) is entered into by and between: (a) the

United States, on behalf of its agency, the Internal Revenue Service, (the “Service”) and (b) Gilli

Lavrishina (the “Debtor”) (collectively, the “Parties”), in connection with the Limited Objection

to Third Amended Plan (the “Limited Plan Objection”) filed by the Service, in the above

captioned Chapter 13 bankruptcy proceeding. (Doc. No. 167).

                                             RECITALS

          WHEREAS, on April 13, 2019, the Debtor filed a bankruptcy petition under Chapter 13

of title 11 of the United States Code.

          WHEREAS, on May 24, 2019, the Service filed a Proof of Claim for unpaid federal taxes

[Claim No. 9-1], which was amended on June 5, 2019 [Claim No. 9-2], and again on September

23, 2019 [Claim No. 9-3].

          WHEREAS, the Proof of Claim asserts a secured claim in the amount of $48,273.82 for

unpaid taxes and civil penalties that accrued during tax years 2010, 2011, 2013, 2014, and 2016,

an unsecured priority claim in the amount of $89,614.26 for unpaid taxes and civil penalties that

accrued during tax years 2015 through 2018, and an unsecured general claim in the amount of

$10.00. [Claim No. 9-3].
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       WHEREAS, the Service’s secured and priority claims consist of two components: (i) the

first component is personal income taxes owed by the Debtor; and (ii) the second component is

civil penalties assessed in connection with unpaid trust fund taxes.

       WHEREAS, on August 27, 2020, the Debtor filed the Fourth Amended Chapter 13 Plan

(Doc. No. 151) (the “Plan”).

       WHEREAS, the Plan proposes to make payments to creditors totaling $10,683.45 over

the first 16 months and $600.00 per month over the next 44 months.

       WHEREAS, with respect to the Service’s secured and priority claims, the Plan provides

the following in Part 8 Nonstandard Plan Provisions:

       Proof of Claim No. 9 by the Internal Revenue Service contains amounts that are owed in
       part by the Debtor's corporation, A Sharon Driving School, Inc. (hereinafter "the
       corporation"). These amounts ($35,375.32 portion of the secured claim and $88,784.26
       portion of the priority claim) are for withholding and trust fund taxes owed by the
       corporation, and these amounts are being paid directly to the Internal Revenue Service by
       the corporation under a separate agreement, and not through this Plan. The amounts that
       are being paid to the Internal Revenue Service through this Plan are the Debtor's
       liabilities for personal income taxes ($12,898.50 secured, $830.00 priority, and $10.00
       general unsecured, subject to the dividend).

       WHEREAS, the Service does not object to the Debtor’s corporation directly paying the

Trust Fund Recovery Penalty through a Direct Deposit Installment Agreement being entered into

between the Service and the corporation, but filed the Limited Plan Objection seeking language

clarifying that the Debtor is ultimately responsible for the payment of these penalties should the

corporation default. The Limited Plan Objection also objected to the failure of the Plan to

provide interest on the Service’s secured claim.

       WHEREAS, the Debtor filed an opposition to the Limited Plan Objection. (Doc. No.

168) (the “Debtor’s Response”).



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       WHEREAS, after good-faith, arms-length negotiations the Parties have reached a

resolution of the issues raised in the Limited Plan Objection and the Debtor’s Response, subject

to the approval of the Court, and pursuant to Fed. R. Bankr. P. 9019 and Massachusetts Local

Bankruptcy Rule 9019-1.

       THEREFORE, IT IS HEREBY AGREED THAT:

       1.      The following claims of the Internal Revenue Service shall not be subject to the

Chapter 13 discharge under 11 U.S.C. §1328: (i) the secured claim of the Internal Revenue

Service in connection with the Trust Fund Recovery Penalties for the periods ending September

30, 2013, December 31, 2013, March 31, 2014, June 30, 2014, September 30, 2014 and June 30,

2016 in the amount of $35,375.32 as of the Petition Date plus applicable interest (the “IRS

TFRP Secured Claim”); and (ii) the priority claims of the Internal Revenue Service in connection

with the Trust Fund Recovery Penalties for the periods ending September 30, 2015, December

31, 2015, March 31, 2016, September 30, 2016, June 30, 2017, September 30, 2017, December

31, 2017, March 31, 2018, June 30, 2018, September 30, 2018 and December 31, 2018 in the

amount of $88,784.26 (the “IRS TFRP Priority Claim”).

       2.      If the Debtor’s corporation, A Sharon Driving School, Inc., defaults on the

payment of the IRS Secured Claim or the IRS Priority Claim under the Direct Deposit

Installment Agreement and such default is not cured within 30 days, the Debtor shall, within 60

days of notice of default by the Service, either (i) file a motion to amend the Plan pursuant to 13

USC § 1329 to provide for payment of the IRS Secured Claim and the IRS Priority Claim

directly by the Debtor, or (ii) file a notice or motion to dismiss this Chapter 13 Case pursuant to

11 U.S.C. § 1307(b). If the Debtor has not filed an amended plan or sought to dismiss consistent

with this paragraph within 60 days of notice of default by the Service, the Service may file a

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motion to dismiss for cause. The Debtor hereby agrees that the Debtor’s failure to comply with

the terms of this paragraph constitutes cause for dismissal pursuant to 11 U.S.C. § 1307(c).

        3.      Upon approval of this Stipulation by the Court, the Service shall withdraw the

Limited Plan Objection. Upon completion of the payments under the Plan and the Service’s

receipt of $12,898.50 and $830.00 on account of the Service’s secured and priority claims,

respectively, the Debtor’s past due pre-petition personal income taxes shall be deemed paid in

full.

        4.      The terms of this Stipulation shall apply to any amended plan. Any amended plan

shall include the language contained in paragraph 1 of this Stipulation.

        5.      This Stipulation constitutes the entire agreement between the Parties on the

matters raised herein, and no other statement, promise, or agreement, either written or oral, made

by either party or agents of either party, that is not contained in this Stipulation, shall be

enforceable with respect to these matters.

        6.      The Parties shall bear their own costs, expenses, and attorney’s fees incurred in

connection with any stage of the above-captioned adversary proceeding.

        7.      This Stipulation may not be modified other than by a signed writing executed by

the Parties.

        8.      The undersigned parties have reviewed and approved this Stipulation.




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       9.      The undersigned parties acknowledge they have authority to bind the Parties in

accordance with this Stipulation.



Date: December 15, 2020

       UNITED STATES OF AMERICA                                GILLI LAVRISHINA
       By its attorneys                                        By her attorney,

       ANDREW E. LELLING                                       Dmitry Lev United States Attorney


By:    /s/ Raquelle L. Kaye                            By:     /s/ Dmitry Lev
       RAQUELLE L. KAYE                                        DMITRY LEV ESQ. BBO # 665236
       Assistant United States Attorney                        Law Offices of D. Lev, PC
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       Boston, MA 02210                                        Watertown, MA 02472
       Tel. No. (617) 748-3403                                 Tel. No. (617) 556-9990
       raquelle.kaye@usdoj.gov                                 dlev@levlaw.net




                                    CERTIFICATE OF SERVICE
        I, Raquelle L. Kaye, hereby certify that on December 15, 2020 I electronically filed the
foregoing document with the U.S. Bankruptcy Court for the District of Massachusetts by using
the CM/ECF system. The foregoing document will be electronically sent to the parties who are
currently on the list to receive e-mail notices in this case.

        I further certify that on December 15, 2020, I served a copy of the same by first-class
U.S. mail, postage pre-paid, to the parties or their counsel of record, inclusive of all creditors
required to be served by L R 1017-1(g). Such creditors are listed on the exhibit to this
Certificate of Service.


Date: December 15, 2020                                        /s/ Raquelle L. Kaye
                                                               RAQUELLE L. KAYE




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                                                  PDM Capital LLC
                                                       Document           Page 6 of 7         Boston
                                                  c/o Berkovitch and Boukila, PLLC            U. S. Bankruptcy Court
                                                  80 Broad Street                             J.W. McCormack Post Office & Court House
                                                  Suite 3303                                  5 Post Office Square, Suite 1150
                                                  New York, NY 10004-2209                     Boston, MA 02109-3945

A Sharon Driving School, Inc.                     Ariel Bouskila                              Bank of America
59 Pond St Apt B                                  Berkovitch & Bouskila                       4909 Savarese Circle
Sharon, MA 02067-2064                             80 Broad St., Ste. 3303                     Tampa, FL 33634-2413
                                                  New York, NY 10004-2209


(p)BANK OF AMERICA                                Bank of America                             Berkovitch & Bouskila
PO BOX 982238                                     Legal Order Processing                      1330 6th Ave, Suite 600B
EL PASO TX 79998-2238                             NY7-501-02-07                               New York, NY 10019-5400
                                                  5701 Horatio Street
                                                  Utica, NY 13502-1024

CFG Merchant Solutions, LLC                       Capital One                                 Capital One Bank (USA), N.A.
180 Maiden Lane, Floor 15                         Attn: Bankruptcy                            4515 N Santa Fe Ave
New York, NY 10038-5150                           Po Box 30285                                Oklahoma City, OK 73118-7901
                                                  Salt Lake City, UT 84130-0285


Citibank/The Home Depot                           Citibank/The Home Depot                     Credit Collection Services
Attn: Recovery/Centralized Bankruptcy             Po Box 6497                                 Attn: Bankruptcy
Po Box 790034                                     Sioux Falls, SD 57117-6497                  725 Canton St
St Louis, MO 63179-0034                                                                       Norwood, MA 02062-2679


Credit Collection Services                        Credit One Bank                             David Michels, Esq.
Po Box 710                                        Attn: Bankruptcy Department                 Department of Industrial Accidents
Norwood, MA 02062-0710                            Po Box 98873                                Lafayette City Center
                                                  Las Vegas, NV 89193-8873                    2 Avenue de Lafayette
                                                                                              Boston, MA 02111-1750

David Michels, Esq.                               Green Capital Funding, LLC                  Huntington National Bank
Lafayette City Center, 1st Floor                  116 Nassau Street, 8th Floor                Bankruptcy Notices
2 Avenue de Lafayette                             New York, NY 10038-2402                     PO Box 89424
Boston, MA 02111-1750                                                                         Cleveland, OH 44101-6424


Huntington National Bank                          Internal Revenue Service                    Internal Revenue Service
Court Order Processing                            Attn: Small Business/Self Employed          PO Box 7346
5555 Cleveland Ave (GW4W34)                       118 Turnpike Rd                             Philadelphia, PA 19101-7346
Columbus, OH 43231-4048                           Southborough, MA 01772-2130


LVNV Funding, LLC                                 Massachusetts Department of Revenue         Mr. Cooper
Resurgent Capital Services                        Bankruptcy Unit                             Attn: Bankruptcy
PO Box 10587                                      P.O.Box 9564                                PO Box 619094
Greenville, SC 29603-0587                         100 Cambridge Street                        Dallas, TX 75261-9094
                                                  Boston, MA 02114-2509

(p)NATIONSTAR MORTGAGE LLC                        PDM Capital LLC                             PDM Capital, LLC
PO BOX 619096                                     c/o Berkovitch and Bouskila, PLLC           39 Broadway
DALLAS TX 75261-9096                              80 Broad Street, Suite 3303                 New York, NY 10006-3003
                                                  New York, NY 10004-2209
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(p)PORTFOLIO RECOVERY ASSOCIATES LLC                Real Document
                                                         Time Resolution, Inc.
                                                                            Page 7 of 7           Real Time Resolutions, Inc.
PO BOX 41067                                        1349 Empire Central Dr. Suite 150             1349 Empire Central Dr.
NORFOLK VA 23541-1067                               Dallas, TX 75247-4029                         Suite 150
                                                                                                  Dallas, TX 75247-4029


Real Time Resolutions, Inc.                         Select Portfolio Servicing, Inc.              (p)TOYOTA MOTOR CREDIT CORPORATION
1349 Empire Central Drive, Suite #1                 PO Box 65250                                  PO BOX 8026
Dallas, Texas 75247-4029                            Salt Lake City, UT 84165-0250                 CEDAR RAPIDS IA 52408-8026



Toyota Motor Credit Corporation                     Verizon by American InfoSource as agent       Workers Compensation Trust Fund
PO Box 9013                                         4515 N Santa Fe Ave                           1 Congress Street, Ste 100
Addison, Texas 75001-9013                           Oklahoma City, OK 73118-7901                  Boston, MA 02114-2023



Carolyn Bankowski-13-12                             Dmitry Lev                                    Gilli Lavrishina
Chapter 13-12 Trustee Boston                        Law Offices of D. Lev, PC                     22 Ward Well Rd
P. O. Box 8250                                      134 Main Street                               Canton, MA 02021-3422
Boston, MA 02114-0950                               Watertown, MA 02472-4416


John Fitzgerald
Office of the US Trustee
J.W. McCormack Post Office & Courthouse
5 Post Office Sq., 10th Fl, Suite 1000
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